Case 3:08-cr-30071-DRH-PMF      Document 90     Filed 08/17/09   Page 1 of 1   Page ID
                                      #381



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JORGE TORRES,

 Defendant.                                                No. 08-30071-DRH

                                      ORDER

 HERNDON, Chief Judge:

              Before the Court is the United States of America’s second agreed motion

 to continue the sentencing (Doc. 88). The Government requests that the sentencing

 hearing in this case be continued for sixty days so that the Government can fully

 advise the Court of the nature and extent of Defendant Torres’ cooperation with the

 Government at the time of sentencing.      The Defendant does not object to the

 continuance and joins in the request. Based on the reasons in the motion, the Court

 GRANTS the United States of America’s second agreed motion to continue the

 sentencing (Doc. 88) and CONTINUES the sentencing hearing currently scheduled

 for August 21, 2009 until October 29, 2009 at 1:30 p.m.

              IT IS SO ORDERED.

              Signed this 17th day of August, 2009.

                                              /s/     DavidRHer|do|
                                              Chief Judge
                                              United States District Court
